Case 4:17-cv-00547-JED-JFJ Document 77 Filed in USDC ND/OK on 06/18/19 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF OKLAHOMA

  MARILYN ANN PHILLIPS,            )
                                   )
                Plaintiff,         )
  v.                               )                   Case No. 17-CV-547-JED-JFJ
                                   )
  FARMERS INSURANCE COMPANY, INC., )
                                   )
                Defendants.        )


                                               ORDER

         The parties’ objections to deposition designations are granted in part and denied in part, as

  set forth below:

  Deposition of Mindy Phillips


                     Defendant’s Objections to                       Court’s Ruling on Objection
                      Plaintiff’s Designations

   Page 9, lines 6-25                                                          Overruled

   Page 10, lines 1-18                                                         Overruled
                     Plaintiff’s Objections to
                Defendant’s Counter-Designations

   Page 12, lines 1-18, 23-25                                                  Sustained

   Page 13, lines 1-3, 9-13, 15-16                                             Sustained

   Page 16, lines 16-19                                                        Sustained


  Deposition of James Rodgers, M.D.

                    Defendant’s Objections to                        Court’s Ruling on Objection
                 Plaintiff’s Counter-Designations

   Page 45, lines 23 through Page 47, line 2                                   Sustained
Case 4:17-cv-00547-JED-JFJ Document 77 Filed in USDC ND/OK on 06/18/19 Page 2 of 2




  Deposition of David Mokhtee , M.D.

                   Plaintiff’s Objections to          Court’s Ruling on Objection
              Defendant’s Counter-Designations

   Page 40                                                     Overruled


        SO ORDERED this 18th day of June, 2019.




                                            2
